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                                                        United States District Court                                           JS-3
                                                        Central District of California


UNITED STATES OF AMERICA vs.                                                Docket No.             CR 18-367-DMG

Defendant         KENNETH RUDY SMITH                                        Social Security No. N           O    N     E

akas:                                                                       (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                     MONTH    DAY   YEAR
           In the presence of the attorney for the government, the defendant appeared in person on this date.        NOV       4    2020


 COUNSEL                                                     Cuauhtemoc Ortega and Ijeoma U. Eke, DFPD
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO               NOT
                                                                                                                CONTENDERE           GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Possession of Child Pornography in violation of Title 18 U.S.C. §§ 2252A(a)(5)(B, (b)(2) as charged in the Single-Count
          Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby placed on
  ORDER   PROBATION for a term of: TEN (10) YEARS.


         It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately.

         Pursuant to 18 U.S.C. § 3014, the additional special assessment of $5000 is waived as the Court finds that the defendant has
established that he is unable to pay and is not likely to become able to pay the additional special assessment.

         It is ordered that the defendant shall pay restitution in the total amount of $9,000 pursuant to 18 U.S.C. § 2259.

         The amount of restitution ordered shall be paid as follows:

         Victim Amount
         “Henley” $1,000
         “Maureen” $1,000
         “Jessy” $1,000
         “Pia” $1,000
         “Mya” $1,000
         “Ava: $1,000
         “Casseaopeia” $1,000
         “Erika” $1,000
         “Jenny” $1,000

         TOTAL: $9,000

         If the defendant makes a partial payment, each payee shall receive approximately proportional payment.

          The Court finds from a consideration of the record that the defendant's economic circumstances allow for restitution payments
pursuant to the following schedule: Monthly payments of at least 10% of defendant's gross monthly income, but not less than $100, whichever
is greater, shall be made during the period of supervised release. These payments shall begin 30 days after the commencement of supervision.



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         Pursuant to section 5E1.2(a) of the sentencing guidelines, all fines are waived as the Court finds that the defendant has established that
he is unable to pay and is not likely to become able to pay any fine in addition to restitution.

         Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby placed on PROBATION
on the Single-Count Indictment for a term of TEN (10) YEARS under the following terms and conditions:

          1.    The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services Office and Amended
                General Order 20-04;

          2.    During the period of probation, the defendant shall participate for a period of 18 months in a home detention program which may
                include electronic monitoring, GPS, or voice recognition and shall observe all rules of such program, as directed by the Probation
                Officer.

          3.    The defendant shall pay the costs of home confinement monitoring to the contract vendor, not to exceed the sum of $12 for each
                day of participation. The defendant shall provide payment and proof of payment as directed by the Probation Officer. If the
                defendant has no ability to pay, no payment will be required.

          4.    During the period of probation, the defendant shall pay the special assessment and restitution in accordance with this judgment’s
                orders pertaining to such payment.

          5.    Following the completion of home detention, the defendant shall perform up to 500 hours of community service, as directed by
                the Probation Officer.

          6.    The defendant shall cooperate in the collection of a DNA sample from the defendant.

          7.    The defendant shall apply all monies received from income tax refunds to the outstanding Court-ordered financial obligation. In
                addition, the defendant shall apply all monies received from lottery winnings, inheritance, judgments and any anticipated or
                unexpected financial gains to the outstanding Court-ordered financial obligation.

          8.    The defendant shall submit his person, property, house, residence, vehicle, papers, computers [as defined in 18 U.S.C. §
                1030(e)(1)], cell phones, other electronic communications or data storage devices or media, office, or other areas under the
                defendant’s control, to a search conducted by a United States Probation Officer or law enforcement officer. Failure to submit to a
                search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be subject to searches
                pursuant to this condition. Any search pursuant to this condition will be conducted at a reasonable time and in a reasonable
                manner upon reasonable suspicion that the defendant has violated a condition of his supervision and that the areas to be searched
                contain evidence of this violation.

          9.    The defendant shall possess and use only those computers and computer-related devices, screen user names, passwords, email
                accounts, and Internet service providers (ISPs) that have been disclosed to the Probation Officer upon commencement of
                probation. Any changes or additions are to be disclosed to the Probation Officer prior to the first use. Computers and computer-
                related devices include personal computers, personal data assistants (PDAs), Internet appliances, electronic games, cellular
                telephones, and digital storage media, as well as their peripheral equipment, that can access, or can be modified to access, the
                Internet, electronic bulletin boards, and other computers.

          10. All computers, computer-related devices, and their peripheral equipment, used by the defendant, shall be subject to search and
              seizure. This shall not apply to items used at the employment site, which are maintained and monitored by the employer.

          11. The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The defendant shall pay the cost
              of the Computer Monitoring Program, in an amount not to exceed $32 per month per device connected to the Internet.

          12. The defendant shall participate in mental health treatment, which may include evaluation and counseling, until discharged from
              the program by the treatment provider, with the approval of the Probation Officer.

          13. The Court authorizes the Probation Officer to disclose the Presentence Report, and/or any previous mental health evaluations or
              reports, to the treatment provider. The treatment provider may provide information (excluding the Presentence Report), to State
              or local social service agencies (such as the State of California, Department of Social Services), for the purpose of the client’s
              rehabilitation.




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          14. The defendant shall register as a sex offender, and keep the registration current, in each jurisdiction where he resides, where he is
              an employee, and where he is a student, to the extent the registration procedures have been established in each jurisdiction. When
              registering for the first time, the defendant shall also register in the jurisdiction in which the conviction occurred if different from
              his jurisdiction of residence. The defendant shall provide proof of registration to the Probation Office within 48 hours of
              registration.

          15. The defendant shall participate in a psychological counseling or psychiatric treatment or a sex offender treatment program, or any
              combination thereof as approved and directed by the Probation Officer. The defendant shall abide by all rules, requirements, and
              conditions of such program, including submission to risk assessment evaluations and physiological testing, such as polygraph and
              Abel testing. The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental health
              evaluations or reports to the treatment provider.

          16. As directed by the Probation Officer, the defendant shall pay all or part of the costs of treating the defendant’s
              psychological/psychiatric disorder(s) to the aftercare contractor during the period of community supervision, pursuant to 18
              U.S.C. § 3672. The defendant shall provide payment and proof of payment, as directed by the Probation Officer. If the defendant
              has no ability to pay, no payment shall be required.

          17. The defendant shall not view or possess any materials, including pictures, photographs, books, writings, drawings, videos, or
              video games depicting and/or describing “child pornography,” as defined at 18 U.S.C. § 2256(8), or “sexually explicit conduct,”
              as defined in 18 U.S.C. § 2256(2). This condition does not prohibit defendant from possessing materials solely because they are
              necessary to, and used for, a collateral attack, nor does it prohibit him from possessing materials prepared and used for the
              purposes of his Court-mandated sex offender treatment, when the defendant’s treatment provider or the Probation Officer has
              approved of his possession of the materials in advance.

          18. The defendant shall not own, use or have access to the services of any commercial mail-receiving agency, nor shall he open or
              maintain a post office box, without the prior approval of the Probation Officer.

          19. The defendant shall not contact the victim(s) by any means, including in person, by mail or electronic means, or via third parties.
              Further, the defendant shall remain at least 100 yards from the victim(s) at all times. If any contact occurs, the defendant shall
              immediately leave the area of contact and report the contact to the Probation Officer.

          20. The defendant shall not frequent, or loiter, within 100 feet of school yards, parks, public swimming pools, playgrounds, youth
              centers, video arcade facilities, or other places primarily used by persons under the age of 18.

          21. The defendant shall not associate or have verbal, written, telephonic, or electronic communication with any person under the age
              of 18, except: (a) in the presence of the parent or legal guardian of said minor or an adult designated by the parent to supervise
              the said minor; and (b) on the condition that the defendant notify said parent or legal guardian of his conviction in the instant
              offense. This provision does not encompass persons under the age of 18, such as waiters, cashiers, ticket vendors, etc., with
              whom the defendant must interact in order to obtain ordinary and usual commercial services.

          22. Defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by a business or organization that
              causes him to regularly contact persons under the age of 18.

          23. The defendant’s employment shall be approved by the Probation Officer, and any change in employment must be pre-approved
              by the Probation Officer. The defendant shall submit the name and address of the proposed employer to the Probation Officer at
              least 10 days prior to any scheduled change.

          24. The defendant shall not view or possess any materials, including pictures, photographs, books, writings, drawings, videos, or
              video games, depicting or describing child erotica, defined as a person under the age of 18 years, in partial or complete state of
              nudity, in exotic or sexually provocative poses, viewed for the purpose of sexual arousal.

          25. The defendant shall not possess or view any materials such as videos, magazines, photographs, computer images or other matter
              that depict “actual sexual explicit conduct” involving adults as defined by 18 U.S.C. § 2257(h)(1).

          26. The defendants shall submit to a psycho-sexual evaluation approved and directed by the Probation Officer. The offender shall
              abide by all rules, requirements, and conditions of such an assessment, including submission to risk assessment evaluation, and
              physiological testing, such as polygraph and Abel testing, to determine if the offender is a risk for re-offending, in need of
              additional conditions of supervision and sex offender specific treatment.


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          27. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the sex offender risk evaluation to the
              aftercare contractor during the period of community supervision. The defendant shall provide payment and proof of payment as
              directed by the Probation Officer. If the defendant has no ability to pay, no payment shall be required.

          28. Once a year, by no later than December 31 during the term of probation, the defendant shall write a letter to the Court providing a
              status report about his progress in mental health treatment, completing his education, obtaining gainful employment, paying
              restitution, performing community service, what he has learned from his experience, and any other pertinent issues.

The drug testing condition mandated by statute is suspended based on the Court’s determination that the defendant poses a low risk of future
substance abuse.

          The bond is exonerated.

          The Court informs the defendant of his right to appeal.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




           November 6, 2020
           Date                                                     Dolly M. Gee, United States District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                    Clerk, U.S. District Court




           November 6, 2020                                 By      /s/ Kane Tien
           Filed Date                                               Deputy Clerk




The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                            STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                             While the defendant is on probation or supervised release pursuant to this judgment:


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1.   The defendant must not commit another federal, state, or local          9.     The defendant must not knowingly associate with any persons
     crime;                                                                         engaged in criminal activity and must not knowingly associate with
2.   The defendant must report to the probation office in the federal               any person convicted of a felony unless granted permission to do so
     judicial district of residence within 72 hours of imposition of a              by the probation officer. This condition will not apply to intimate
     sentence of probation or release from imprisonment, unless                     family members, unless the court has completed an individualized
     otherwise directed by the probation officer;                                   review and has determined that the restriction is necessary for
3.   The defendant must report to the probation office as instructed by             protection of the community or rehabilitation;
     the court or probation officer;                                         10.    The defendant must refrain from excessive use of alcohol and must
4.   The defendant must not knowingly leave the judicial district                   not purchase, possess, use, distribute, or administer any narcotic or
     without first receiving the permission of the court or probation               other controlled substance, or any paraphernalia related to such
     officer;                                                                       substances, except as prescribed by a physician;
5.   The defendant must answer truthfully the inquiries of the probation     11.    The defendant must notify the probation officer within 72 hours of
     officer, unless legitimately asserting his or her Fifth Amendment              being arrested or questioned by a law enforcement officer;
     right against self-incrimination as to new criminal conduct;            12.    For felony cases, the defendant must not possess a firearm,
6.   The defendant must reside at a location approved by the probation              ammunition, destructive device, or any other dangerous weapon;
     officer and must notify the probation officer at least 10 days before   13.    The defendant must not act or enter into any agreement with a law
     any anticipated change or within 72 hours of an unanticipated                  enforcement agency to act as an informant or source without the
     change in residence or persons living in defendant’s residence;                permission of the court;
7.   The defendant must permit the probation officer to contact him or       14.    As directed by the probation officer, the defendant must notify
     her at any time at home or elsewhere and must permit confiscation              specific persons and organizations of specific risks posed by the
     of any contraband prohibited by law or the terms of supervision                defendant to those persons and organizations and must permit the
     and observed in plain view by the probation officer;                           probation officer to confirm the defendant’s compliance with such
8.   The defendant must work at a lawful occupation unless excused by               requirement and to make such notifications;
     the probation officer for schooling, training, or other acceptable      15.    The defendant must follow the instructions of the probation officer
     reasons and must notify the probation officer at least ten days                to implement the orders of the court, afford adequate deterrence
     before any change in employment or within 72 hours of an                       from criminal conduct, protect the public from further crimes of the
     unanticipated change;                                                          defendant; and provide the defendant with needed educational or
                                                                                    vocational training, medical care, or other correctional treatment in
                                                                                    the most effective manner.




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 X The defendant will also comply with the following special conditions (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be
subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
applicable for offenses completed before April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

         The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18
U.S.C. § 3563(a)(7).

          Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

          CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

         As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, must be disclosed to the Probation Officer upon request.

        The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                      to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal


                                                             By
           Date                                                     Deputy Marshal




                                                                CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court


                                                             By
           Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



          (Signed)
                      Defendant                                                                  Date




                      U. S. Probation Officer/Designated Witness                                 Date




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